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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

JOANNA MOLINA, individually, and on behalf
of others similarly situated,
                                                        Civil Case No.
               Plaintiff,
vs.

SHORE DINER, INC.,

               Defendant.


       COLLECTIVE AND CLASS ACTION COMPLAINT WITH JURY DEMAND

       Plaintiff Joanna Molina, individually and on behalf of all others similarly situated, by and

through her attorneys Brown, LLC, hereby brings this Collective and Class Action Complaint

against Defendant Shore Diner, Inc., and alleges upon information and belief, as follows:

                                       INTRODUCTION

       1.      Plaintiff brings this action for herself and all other similarly situated collective

members to recover unpaid minimum wage, unlawfully kept tips, liquidated damages, and

reasonable attorneys’ fees and costs as a result of Defendant’s willful violation of the Fair Labor

Standards Act (“FLSA”), 29 U.S.C. §201 et seq. and attendant regulations at 29 C.F.R. § 516, et

seq.

       2.      Plaintiff also brings this action for herself and all other similarly situated Rule 23

class members to recover unpaid minimum wage, unlawfully kept tips, pre- and post- judgment

interest, and reasonable attorneys’ fees and costs as a result of Defendant’s willful violation of

the New Jersey Wage and Hour Laws and Regulations (“NJWHLR”), N.J.S.A. 34:11-56a et seq.

       3.      Defendant has operated as a restaurant “Shore Diner” in Atlantic County since




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1992.1

         4.      Plaintiff and the putative FLSA collective and Rule 23 class members were tipped

employees subjected to Defendant’s unlawful common policies and practices including:

                 a.      failing to provide the tipped employees the FLSA required tip
                         notice before availing itself of the FLSA 3(m) tip credit;2

                 b.      automatically deducting 25¢ per hour from the tipped employees’
                         minimum cash wage for “meals,” regardless of whether the tipped
                         employees actually took the meals;

                 c.      unlawfully keeping the tips received from the customers without
                         properly distributing them to the tipped employees; and

                 d.      failing to record all work time performed by the tipped employees,
                         requiring them to work off the clock, and failing to pay them for all
                         hours worked.

         5.       As a result of Defendant’s unlawful common policies and practices, these tipped

employees were not paid the statutorily mandated minimum wage; and they were divested of

their rightfully earned tips.

         6.       Plaintiff asserts the FLSA claims on behalf of a putative FLSA collective,

defined as:

                 All tipped employees of Defendant at any time from three (3) years
                 prior to the filing of this Complaint through the date of judgment.

         7.       Plaintiff seeks to send a Notice pursuant to 29 U.S.C. § 216(b) to all tipped

employees of Defendant permitting them to assert FLSA claims in this collective action by filing

their individual consent forms.

         8.      Plaintiff asserts the NJWHLR claims on behalf of a putative class pursuant to Fed.


1
  See Defendant’s website: http://www.shorediner.com/index.html (last accessed Nov. 12, 2018).
2
  See U.S. Department of Labor Fact Sheet #15: Tipped Employees Under the Fair Labor Standards Act (FLSA)
(Revised April 2018), available at https://www.dol.gov/whd/regs/compliance/whdfs15.htm (last accessed Nov. 12,
2018).



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R. Civ. P. 23, defined as:

                All tipped-employees of Defendant in the State of New Jersey at
                any time from two (2) years prior to the filing of this Complaint
                through the date of judgment.

          9.    Defendant has willfully and intentionally committed widespread violations of the

above-described statutes and corresponding regulations, in the manner described herein.

                                  JURISDICTION AND VENUE

          10.    This Court has subject-matter jurisdiction over Plaintiff’s FLSA claims pursuant

to 28 U.S.C. § 1331 because Plaintiff’s claims raise a federal question under 29 U.S.C. § 201, et

seq.

          11.   This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. §1367 because those claims derive from a common nucleus of operative facts as

Plaintiff’s federal claims.

          12.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) and (2)

because Defendant employed Plaintiff in this district and because a substantial portion of the

events that give rise to the Plaintiff’s claims occurred in this district.

                                              PARTIES

          13.    Defendant Shore Diner, Inc. (“Shore Diner”) is a for-profit entity created and

existing under and by virtue of the laws of the State of New Jersey.

          14.    Shore Diner maintains a principal place of business at 6710 Tilton Rd, Egg

Harbor Township, NJ 08234.

          15.   Plaintiff Joanna Molina is a resident of the County of Atlantic and State of New

Jersey.

          16.    Ms. Molina was employed by Defendant as a waitress from approximately




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mid-December 2017 to May 2018 and July 2018 to August 2018.

       17.       Ms. Molina’s written consent to become an FLSA party plaintiff is attached

hereto as Exhibit A.

                                  FACTUAL ALLEGATIONS

       18.       Defendant has operated and controlled an enterprise engaged in commerce as

defined under the FLSA.

       19.       Defendant has generated over $500,000.00 in revenue per year.

       20.       Defendant has two (2) or more employees handling, selling, or otherwise working

on goods or materials that have been moved in or produced for commerce.

       21.       Defendant has engaged in ordinary commercial activities within the meaning of

the FLSA that result in sales made or business done.

       22.       Defendant was the “employer” of the tipped employees including Plaintiff within

the meaning of 29 U.S.C. § 203(d), N.J.S.A. 34:11-56a1(g) and N.J.S.A. 34:11-4.1a.

       23.       The tipped employees including Plaintiff were “employees” of Defendant within

the meaning of 29 U.S.C. § 203(e)(1), N.J.S.A. 34:11-56a1(h) and N.J.S.A. 34:11-4.1b.

       24.       Defendant “suffered or permitted” the tipped employees including Plaintiff to

work and thus “employed” them within the meaning of 29 U.S.C. §203(g) and N.J.S.A.

34:11-56a1(f).

       25.       Defendant, directly or indirectly, hired the tipped employees including Plaintiff

and determined the rate and method of the payment of their wages.

       26.       Defendant controlled the work schedules, duties, protocols, applications,

assignments and conditions of employment of the tipped employees including Plaintiff.

       27.       The tipped employees including Plaintiff regularly received more than $30 per




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month in tips.

        28.      Under the federal and New Jersey wage and hour laws, an employer must pay its

tipped employees at least a minimum cash wage of $2.13 an hour.3

        29.      Defendant availed itself of the tip credit and paid the tipped employees including

Plaintiff the minimum cash wage of $2.13 an hour, as opposed to the standard New Jersey

minimum wage of $8.60 an hour.

        30.      Under the FLSA, the employer must provide the following information to the

tipped employees before the employer may use the FLSA 3(m) tip credit:

        1) the amount of cash wage the employer is paying a tipped employee, which must be at
           least $2.13 per hour;

        2) the additional amount claimed by the employer as a tip credit, which cannot exceed
           $5.12 (the difference between the minimum required cash wage of $2.13 and the
           current minimum wage of$7.25);

        3) that the tip credit claimed by the employer cannot exceed the amount of tips actually
           received by the tipped employee;

        4) that all tips received by the tipped employee are to be retained by the employee
           except for a valid tip pooling arrangement limited to employees who customarily and
           regularly receive tips; and

        5) that the tip credit will not apply to any tipped employee unless the employee has been
           informed of these tip credit provisions.4

        31.      Defendant failed to inform the tipped employees including Plaintiff “in advance

of [its] use of the tip credit of the provisions of section 3(m) of the Act, i.e.: The amount of the

cash wage that is to be paid to the tipped employee by the employer; the additional amount by

which the wages of the tipped employee are increased on account of the tip credit claimed by the

employer, which amount may not exceed the value of the tips actually received by the employee;

3
  See id.; New Jersey Department of Labor Workforce Development website: Wage and Hour Compliance FAQs at
https://www.nj.gov/labor/wagehour/content/wage_and_hour_compliance_faqs.html#q1 (last accessed Nov. 12,
2018).
4
  See supra n. 2, U.S. Department of Labor Fact Sheet #15.


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that all tips received by the tipped employee must be retained by the employee except for a valid

tip pooling arrangement limited to employees who customarily and regularly receive tips; and

that the tip credit shall not apply to any employee who has not been informed of these

requirements in this section.”   29 C.F.R. § 531.59(b).

       32.      Defendant implemented a policy of automatically deducting 25¢ per hour from

the tipped employees’ minimum cash wage for “meals,” regardless of whether the tipped

employees actually took the meals.

       33.      When tipped employees did not take the meals provided by Defendant,

Defendant nonetheless deducted 25¢ per hour from their minimum cash wage.

       34.      Plaintiff’s paystub shows Defendant paid the minimum cash wage of $1.88 (after

deduction of 25¢ for “meals”) per hour.

       35.      The payroll records will show that tipped employees were paid $1.88 an hour.

       36.      Defendant regularly took away 10% of the total customer tips from the tipped

employees including Plaintiff.

       37.      Management claimed the 10% of the tips taken away were distributed to the

bussers.

       38.      However, Plaintiff was informed by the bussers that they did not receive any

such tips.

       39.      Defendant unlawfully kept the tips received from the customers without properly

distributing them to the tipped employees.

       40.      Defendant failed to record all work time performed by the tipped employees

including Plaintiff.

       41.      Defendant required the tipped employees including Plaintiff to work off the




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clock.

         42.    Defendant failed to pay the tipped employees including Plaintiff for all hours

worked.

         43.    On multiple occasions, Defendant, through its management, “cut” Plaintiff’s shift

as a waitress but required Plaintiff to continue performing work – bussing some tables and doing

side work – for approximately 30 to 45 minutes, as a condition for her eligibility to share the tips

received from the tables she was serving.

         44.    Defendant failed to record Plaintiff’s work time bussing tables and doing side

work after she was “cut” from serving the tables.

         45.    Defendant had Plaintiff work of the clock bussing tables and doing side work

after she was “cut” from serving the tables.

         46.    Defendant failed to pay Plaintiff for time bussing tables and doing side work

after she was “cut” from serving the tables.

         47.    As a result of Defendant’s unlawful common policies and practices, the tipped

employees of Defendant were not paid the statutorily mandated minimum wage; and they were

divested of their rightfully earned tips.

         48.    Defendant failed to post a notice explaining the minimum wage and overtime pay

rights provided by FLSA in any area of its business facility where Plaintiff was employed, in

violation of 29 C.F.R. §516.4.

         49.    Defendant failed to post a summary explaining the minimum wage and overtime

pay rights provided by the NJWHL in any area of their business facility where Plaintiff was

employed, in violation of N.J.S.A. 34:11-56a21.

         50.    Defendant’s wrongful acts and/or omissions/commissions, as alleged herein, were




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not made in good faith, or in conformity with or in reliance on any written administrative

regulation, order, ruling, approval, or interpretation by the state and/or U.S. Department of Labor

and/or any state department of labor, or any administrative practice or enforcement practice or

enforcement policy of such departments.

        51.     Defendant’s violations of the above-described federal and state wage and hour

statutes and regulations were willful, arbitrary, unreasonable and in bad faith.

                           COLLECTIVE ACTION ALLEGATIONS

        52.     Plaintiff re-alleges and incorporates all previous paragraphs herein.

        53.     Plaintiff brings this action pursuant to Section 216(b) of the FLSA, as an opt-in

representative action, for and on behalf of all tipped employees who have been affected by

Defendant’s unlawful common policies and practices which include failing to properly pay

minimum wage and unlawfully retaining tips, in violation of the Fair Labor Standards Act, 29

U.S.C. § 201, et seq. (“FLSA”) and attendant regulations at 29 C.F.R. § 516, et seq.

        54.     Plaintiff brings this action pursuant to 29 U.S.C. § 216(b) of the FLSA on behalf

of:

                All tipped employees of Defendants at any time from three (3)
                years prior to the filing of this Complaint through the date of
                judgment.

Plaintiff reserves the right to amend this definition as necessary.

        55.     Plaintiff brings this collective action against Defendant to recover unpaid

minimum wage, unlawfully kept tips, liquidated damages, and reasonable attorneys’ fees and

costs pursuant to 29 U.S.C. § 216(b).

        56.     The collective action further alleges a willful violation of the FLSA and seeks an

additional, third year of limitations.




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        57.     Plaintiff seeks to send Notice to all tipped employees of Defendant permitting

them to assert FLSA claims in this collective action by filing their individual consent forms, as

provided by 29 U.S.C. § 216(b) and supporting case law.

        58.     Certification of the collective action under the FLSA is appropriate because the

employees described herein are “similarly situated” to Plaintiff under 29 U.S.C. § 216(b).     The

class of employees on behalf of whom Plaintiff brings this collective action are similarly situated

because they were subject to the same or similar unlawful practices and policies as stated herein

and their claims are based upon the same factual and legal theories.

        59.     The employment relationships between Defendant and every collective member

are the same and differ only by name, location, and rate of pay.

        60.     Plaintiff anticipates that there will be no difficulty in the management of this

litigation.   This litigation presents claims under the FLSA, a type that have often been

prosecuted on a class wide basis, and the manner of identifying the collective and providing any

monetary relief to it can be effectuated from a review of Defendant’s records.

        61.     Plaintiff and the putative FLSA collective members demand a trial by jury.

                         RULE 23 CLASS ACTION ALLEGATIONS

        62.     Plaintiff re-alleges and incorporates all previous paragraphs herein.

        63.     Plaintiff also seeks to maintain this action pursuant to Fed. R. of Civ. P. 23, as

an opt-out class action, for and on behalf all tipped employees who have been affected by

Defendant’s unlawful common policies and practices which include failing to pay minimum

wage and unlawfully retaining tips, in violation of the New Jersey Wage and Hour Laws and

Regulations (“NJWHLR”), N.J.S.A. 34:11-56a et seq.

        64.     Plaintiff brings this Rule 23 class action as to the NJWHLR claims on behalf of:




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               All tipped employees of Defendant in the State of New Jersey at
               any time from two (2) years prior to the filing of this Complaint
               through the date of judgment.

Plaintiff reserves the right to amend this definition as necessary.

       65.      Plaintiff brings this Rule 23 class action as to the NJWHLR claims against

Defendant to recover unpaid minimum wage, unlawfully kept tips, pre- and post- judgment

interest, and reasonable attorneys’ fees and costs pursuant to N.J.S.A. 34:11-56a25 and

12:56-1.5.

       66.     The members of the Rule 23 class are so numerous that joinder of all class

members in this case would be impractical. The Rule 23 class members should be easy to

identify from Defendant’s computer systems and electronic payroll and personnel records.

       67.     There is a well-defined community of interest among the Rule 23 class

members and common questions of law and fact predominate in this action over any questions

affecting each individual class member. These common legal and factual questions, include,

but are not limited to, the following: whether the Rule 23 class members were properly

compensated minimum wage and whether Defendant unlawfully retained tips without

distributing them to the Rule 23 class members.

       68.     Plaintiff’s claims are typical of those of the Rule 23 class members in that

they and all other class members suffered damages as a direct and proximate result of

Defendant’s common and systemic payroll policies and practices.             All of the class

members were subject to the same corporate practices of Defendant, as alleged herein.

Any lawsuit brought by an employee of Defendant would be identical to a suit brought by

any other employee for the same violations and separate litigation would cause a risk of

inconsistent results.




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       69.      Plaintiff was employed by Defendant in the same capacity as all of the class

members.     All class members were treated the same or similarly by management with

respect to pay or lack thereof.    This treatment included, but was not limited to, failure to pay

minimum wage and unlawfully retaining tips. Thus, there are common questions of law and

fact which are applicable to each and every one of the class members.

       70.      Plaintiff will fully and adequately protect the interests of the class members and

have retained counsel who are qualified and experienced in the prosecution of nationwide

wage and hour class actions. Plaintiff and his counsel do not have interests that are contrary

to, or conflicting with, the interests of the class members.

       71.      Defendant’s corporate-wide policies and practices affected all class members

similarly, and Defendant benefited from the same type of unfair and/or wrongful acts as to each

class member.     Plaintiff’s claim arises from the same legal theories as all other class members.

Therefore, this case will be more manageable and efficient as a Rule 23 class action.     Plaintiff

and her counsel know of no unusual difficulties in this case.

       72.      Plaintiff and the Rule 23 class members demand a trial by jury.

                                           COUNT I
              Violation of the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.
                               [Failure to Pay Minimum Wage]

       73.      Plaintiff re-alleges and incorporates all previous paragraphs herein.

       74.      Defendant failed to provide Plaintiff and the FLSA collective members the FLSA

required tip notice before availing itself of the FLSA 3(m) tip credit.

       75.      Defendant implemented a policy of automatically deducting 25¢ per hour from

the minimum cash wage for “meals,” regardless of whether Plaintiff and the FLSA collective

members actually took the meals.




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         76.   Defendant failed to record all work time performed by Plaintiff and the FLSA

collective members.

         77.   Defendant required Plaintiff and the FLSA collective members to work off the

clock.

         78.   Defendant failed to properly compensate Plaintiff and the FLSA collective

members for all hours worked as alleged herein.

         79.   Defendant’s conduct and practices, described herein, were willful, intentional,

unreasonably, arbitrary, and in bad faith.

         80.   Because Defendant willfully violated the FLSA, a three (3) year statute of

limitations shall apply to such violation pursuant to 29 U.S.C. § 255(a).

         81.   As a result of Defendant’s unlawful common policies and practices described

above, Plaintiff and the FLSA collective members were illegally deprived of minimum wages

earned, in such amounts to be determined at trial, and are entitled to recovery of such total

unpaid amounts, liquidated damages, reasonable attorneys’ fees, costs and other compensation

pursuant to 29 U.S.C § 216(b).

                                         COUNT II
 Violation of the New Jersey Wage and Hour Laws and Regulations, N.J.S.A. 34:11-56a, et seq.
                              [Failure to Pay Minimum Wage]

         82.   Plaintiff re-alleges and incorporates all previous paragraphs herein.

         83.   Defendant implemented a policy of automatically deducting 25¢ per hour from

the minimum cash wage for “meals,” regardless of whether Plaintiff and the Rule 23 class

members actually took the meals.

         84.   Defendant failed to record all work time performed by Plaintiff and the Rule 23

class members.

         85.   Defendant required Plaintiff and the Rule 23 class members to work off the clock.


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       86.     Defendant failed to properly compensate Plaintiff and the Rule 23 class members

for all hours worked as alleged herein.

       87.     Defendant’s conduct and practices, described herein, were willful, intentional,

unreasonably, arbitrary, and in bad faith.

       88.     As a result of Defendant’s unlawful common policies and practices described

above, Plaintiff and the Rule 23 class members were illegally deprived of minimum wages

earned, in such amounts to be determined at trial, and are entitled to recovery of such total

unpaid amounts, liquidated damages, reasonable attorneys’ fees, costs and other compensation

pursuant to N.J.S.A. 34:11-56a25 and 12:56-1.5.

                                          COUNT III
               Violation of the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.
                                    [Unlawful Tip Retention]

       89.     Plaintiff re-alleges and incorporates all previous paragraphs herein.

       90.     Defendant failed to provide Plaintiff and the FLSA collective members the FLSA

required tip notice before availing itself of the FLSA 3(m) tip credit.

       91.     Pursuant to the amendment to the Fair Labor Standards Act (FLSA) in the

omnibus budget bill, “Consolidated Appropriations Act, 2018,” enacted on March 23, 2018,

employers “may not keep tips received by its employees for any purposes, including allowing

managers or supervisors to keep any portion of employees’ tips, regardless of whether or not the

employer takes a tip credit.” 29 U.S.C. § 203(m)(2)(B).

       92.     Fact Sheet # 15 of the U.S. Department of Labor concerning the application of the

FLSA to employees who receive tips provides that “[a] tip is the sole property of the tipped

employee regardless of whether the employer takes a tip credit.”      See Fact Sheet # 15 (Revised

April 2018).




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       93.     Defendant regularly took away 10% of the total customer tips from Plaintiff and

the FLSA collective members.

       94.      Defendant unlawfully kept the tips received from the customers without properly

distributing them to Plaintiff and the FLSA collective members.

       95.     Defendant’s conduct and practices, described herein, were willful, intentional,

unreasonably, arbitrary, and in bad faith.

       96.     Because Defendant willfully violated the FLSA, a three (3) year statute of

limitations shall apply to such violation pursuant to 29 U.S.C. § 255(a).

       97.     As a result of Defendant’s uniform and common policies and practices described

above, Plaintiff and the FLSA collective members were illegally deprived of tips earned, in such

amounts to be determined at trial, and is entitled to recovery of such total unpaid amounts,

liquidated damages, reasonable attorneys’ fees, costs and other compensation pursuant to 29

U.S.C § 216(b).

                                       COUNT IV
 Violation of the New Jersey Wage and Hour Laws and Regulations, N.J.S.A. 34:11-56a, et seq.
                                 [Unlawful Tip Retention]

       98.     Plaintiff re-alleges and incorporates all previous paragraphs herein.

       99.      N.J.S.A.12:56-8.4 (b) provides that “[g]ratuities shall be the property of the

tipped employee.”

       100.    Defendant regularly took away 10% of the total customer tips from Plaintiff and

the Rule 23 class members.

       101.     Defendant unlawfully kept the tips from received from the customers without

properly distributing them to Plaintiff and the Rule 23 class members.

       102.    Defendant’s conduct and practices, described herein, were willful, intentional,

unreasonably, arbitrary, and in bad faith.


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       103.    As a result of Defendant’s unlawful common policies and practices described

above, Plaintiff and the Rule 23 class members were illegally deprived of tips earned, in such

amounts to be determined at trial, and are entitled to recovery of such total unpaid amounts, pre

and post-judgment interest, reasonable attorneys’ fees, costs and other compensation pursuant to

N.J.S.A. 34:11-56a25 and 12:56-1.5.

                                    RELIEF REQUESTED

       WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief

against Defendant:

(A)    A declaratory judgment that Defendant’s wage practices alleged herein violate the Fair

       Labor Standards Act, 29 U.S.C. § 201, et seq., and attendant regulations at 29 C.F.R. §

       516, et seq.;

(B)    A declaratory judgment that Defendant’s wage practices alleged herein violate the New

       Jersey Wage and Hour Laws and Regulations, N.J.S.A. 34:11-56a et seq.;

(C)    An Order for injunctive relief ordering Defendant to comply with the FLSA and

       NJWHLR, and end all of the illegal wage practices alleged herein;

(D)    Certifying this case as a collective action in accordance with 29 U.S.C. § 216(b) with

       respect to the FLSA claims set forth herein;

(E)    Certifying this action as a class action pursuant to Fed R. Civ. P. 23 with respect to the

       NJWHLR claims set forth herein;

(F)    Ordering Defendant to disclose in computer format, or in print if no computer readable

       format is available, the names, addresses, e-mail addresses, telephone numbers, dates of

       birth, job titles, dates of employment and locations of employment of all FLSA collective

       and Rule 23 class members;




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(G)   Authorizing Plaintiff’s counsel to send notice(s) of this action to all FLSA collective and

      Rule 23 class members, including the publishing of notice in a manner that is reasonably

      calculated to apprise the FLSA collective members of their rights by law to join and

      participate in this lawsuit;

(H)   Designating Lead Plaintiff as the representatives of the FLSA collective and Rule 23

      class in this action;

(I)   Designating the undersigned counsel as counsel for the FLSA collective and Rule 23

      Class in this action;

(J)   Judgment for damages for all unpaid minimum wages, unlawfully kept tips and

      liquidated damages to which Plaintiff and the FLSA collective members are lawfully

      entitled under the FLSA, 29 U.S.C. § 201, et seq., and attendant regulations at 29 C.F.R.

      § 516, et seq.;

(K)   Judgment for damages for all unpaid minimum wages, unlawfully kept tips and pre- and

      post- interest to which Plaintiff and the Rule 23 class members are lawfully entitled under

      the NJWHLR, N.J.S.A. 34:11-56a et seq.;

(L)   An incentive award for the Lead Plaintiff for serving as representative of the FLSA

      collective and Rule 23 class in this action;

(M)   An award for reasonable attorneys’ fees and costs in connection with this action as

      provided for by the FLSA and NJWHLR;

(N)   Judgment for any and all civil penalties to which Plaintiff and the FLSA collective and

      Rule 23 class members may be entitled; and

(O)   Such other and further relief as to this Court may deem necessary, just and proper.




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                                      JURY DEMAND

       Plaintiff, individually and on behalf of all other FLSA collective and Rule 23 class

members, by and through his attorneys, hereby demand a trial by jury pursuant to Rule 38 of the

Federal Rules of Civil Procedure and the court rules and statutes made and provided with respect

to the above entitled claims.


Dated: November 19, 2018                    /s/ Jason T. Brown
                                            Jason T. Brown
                                            Nicholas Conlon
                                            Ching-Yuan (“Tony”) Teng (to seek pro hac vice)
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